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                                   CIVIL MINUTE ENTRY

BEFORE:                      Magistrate Judge Steven M. Gold

DATE:                        December 1, 2017

TIME:                        2:00 p.m.

DOCKET NUMBER(S):            CV 17-3358 (DLI)

NAME OF CASE(S):
                             Rodriguez v. Pedro's Bar & Restaurant, Inc. et al

FOR PLAINTIFF(S):            Chen and Willemin with Rodriguez

FOR DEFENDANT(S):            Restituyo

NEXT CONFERENCE(S):          N/A

                             2:06-2:23
FTR/COURT REPORTER:

RULINGS MOTION HEARING:

The parties will submit a revised motion for approval of their settlement that takes today's
discussion into account by December 15, 2017.
